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v» §
§ civIL ACTION No. 4-15-00202~A
GREAT AMERICAN LIFE leURANCE §
coMPANY §

 

S'I`IPULATION OF DISMISSAL WI’I`H PREJUDICE

 

TO THE HONORABLE JUDGE OF SAID COUR"£`:

NOW COME THE PARTIES in the above entitled and numbered cause, by and through
their undersigned counsel and, pursuant to Rule 41(a)(l) of the Federal Ruies of Civil Procedure,
hereby voluntarily dismiss this action with prejudice All matters in controversy have been
compromised and settled between Plaintiff, Susan S. Bricker, and Dei`endant, Great American Life
Insuranee Company, and such compromise and sett§ement are made upon the condition that the

parties each bear their own costs and attorney’s fees.

 

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Respecti`uify submitted,

By: trw
WESLEY M. HIGHTOWER
State Bar No. 09618200

Weshightower@bhiiaw.com

IONATHAN A. CONE
State Bar No. 24078363

jcone@hhilaw.com

BLAIES & HzoaToWER, L.L.P.
421 W. Third Street, Suite 900
Fort Worth, Texas 76102
817~334~0800 (Telephone)
817~334-0574 (Facsirniie)

 

. ATTORNEYS FOR PLAINTIFF

  

    

  

 

 

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By: '.C”"""'"" `_
§Finathan .&(oliins
35 ate Bar No. 24049522
iiecollins@lockeiord.com
LOCKE LoRD LLP

2200 Ross Avenue, Suite 2200
Dalias, 'f`exas 75201-6776

2 1 4*74018000 ('i`elephone)
214-740-8800 (Facsirnile)

ATTOMEYS FOR DEFENDANT

 

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing document
Was Served upon counsel of record listed below by Certified Mail/Return Receipt Requested on
lane K, 2015.

Johnathan E. Collins

LocKE LoRo LLP

2200 Ross Avenue, Suite 2200
Dallas, Texas 75201-6776

\)U/W

Wesley M\Hightower

 

STEPULATED DISMISSAL OF DEFENDANT WlTH PRE.FUDICE PAGE 3

